United States District Court
Southern District of Texas

UNITED STATES DISTRICT COURT Fury
SOUTHERN DISTRICT OF TEXAS DEC -92014 7

LAREDO DIVISION .
David J. Bradley, Clerk

UNITED STATES OF AMERICA § Laredo Divison
V. CRIM. ACTION NO. 5:05-CR-1659-7
FIDEL TORRES

ORDER

Defendant has filed a motion for a sentence reduction pursuant to
Amendment 782 to the United States Sentencing Guidelines. For the following

reason(s), Defendant’s motion (Dkt. No. 338) is hereby DENIED:

e Defendant’s projected release date is prior to November 1, 2015. See
U.S. SENTENCING GUIDELINES MANUAL § 1B1.10(e)(1).

e The Amendment does not lower Defendant’s guideline range because of
a controlling statutory minimum. See id. § 5G1.1(b).

e The low end of Defendant’s amended guideline range is greater than
the sentence Defendant received, and Defendant did not receive a
downward departure based on _ substantial assistance to the
Government. See id. § 1B1.10(b)(2)(A)-(B).

e The Amendment does not lower Defendant’s guideline range based on
the quantity of drugs used to calculate Defendant’s original guideline
range.

° Defendant was not sentenced based on a guideline range calculated

using the Drug Quantity Tables in § 2D1.1 or § 2D1.11.
e X Defendant qualifies for sentence reduction, but the Court will not
grant the reduction because of behavior while in custody. See 18

U.S.C. § 3553(a).

It is so ORDERED.
SIGNED this , ‘day of December, YA

George P. Kazen
Senior United Stat strict Judge

 
